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Invoice No.: 1868864 Page 2
Matter No.: 083230.012700

Description of Professional Services Rendered

ACTION CODE: 922 TRAVEL
DATE TIMEKEEPER DESCRIPTION HOURS AMOUNT
07/24/06 Nancy A. Peterman Travel to Las Vegas for hearing (4.0). 4.00 2,180.00
07/25/06 Nancy A. Peterman Travel to Chicago after hearing (4.0). 4.00 2,180.00
Total Hours: 8.00

Total Amount: $ 4,360.00

TIMEKEEPER SUMMARY FOR ACTION CODE 922,
TRAVEL

Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 8.00 545.00 4,360.00

Totals: 8.00 545.00 $ 4,360.00
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Invoice No.: 1868864 Page 3
Matter No.: 083230.012700

Description of Professional Services Rendered

TIMEKEEPER ACTIVITY GRAND TOTAL SUMMARY

Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 16.60 545.00 9,047.00
Yolanda Powell 1.50 175.00 262.50

Totals: 18.10 514.34 $ 9,309.50
Case 06-10725-gwz Doc 3730-1 Entered 05/14/07 14:12:23 Page 3 of 10

Invoice No.: 1868700 Page 1
Matter No.: 083230.012700
Description of Professional Services Rendered:
ACTION CODE: 806 EMPLOYEE BENEFITS/PENSIONS
DATE TIMEKEEPER DESCRIPTION HOURS AMOUNT
08/25/06 Nancy A. Peterman Review and analysis of board resolution 0.70 381.50
(.4); telephone conferences with J.
Atkinson and S. Strom re pension issues
(.3).
08/25/06 ——- Richard A. Sirus Conference with N. Peterman regarding 0.30 138.00
plan freeze and actions.
08/31/06 Andre L. Zafrani Review and comment on pension 1.00 420.00
termination motion and affidavit.
Total Hours: 2.00
Total Amount: $ 939.50
TIMEKEEPER SUMMARY FOR ACTION CODE 806,
EMPLOYEE BENEFITS/PENSIONS
Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 0.70 545.00 381.50
Richard A. Sirus 0.30 460.00 138.00
Andre L. Zafrani 1.00 420.00 420.00
Totals: 2.00 469.75 $ 939.50
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Invoice No.: 1868700 Page 2
Matter No.: 083230.012700

Description of Professional Services Rendered

ACTION CODE: 813 FEE/EMPLOYMENT APPLICATIONS
DATE TIMEKEEPER DESCRIPTION HOURS AMOUNT
08/02/06 Nancy A. Peterman Telephone conference with Debtors' 0.20 109.00
counsel re retention issues.
08/08/06 Yolanda Powell Reviewed court docket for retention order. 0.30 52.50
Total Hours: 0.50
Total Amount: $ 161.50

TIMEKEEPER SUMMARY FOR ACTION CODE 813,

FEE/EMPLOYMENT APPLICATIONS

Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 0.20 545.00 109.00
Yolanda Powell 0.30 175.00 52.50

Totals: 0.50 323.00 $ 161.50
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Matter No.: 083230.012700

Description of Professional Services Rendered

TIMEKEEPER ACTIVITY GRAND TOTAL SUMMARY

Page 5 of 10
Page 3

Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 0.90 545.00 490.50
Richard A. Sirus 0.30 460.00 138.00
Andre L. Zafrani 1.00 420.00 420.00
Yolanda Powell 0.30 175.00 52.50

Totals: 2.50 440.40 1,101.00
Case 06-10725-gwz Doc 3730-1 Entered 05/14/07 14:12:23

Invoice No.:

Re:

Matter No.:

1868700
USA Commercial Mortgage Company
083230.012700

Description of Expenses Billed:

DATE

07/24/06

07/24/06

07/24/06

07/24/06

07/25/06

07/25/06

07/25/06

07/25/06

08/18/06

DESCRIPTION

VENDOR: Peterman, Nancy A. INVOICE#: C05100001 1372060025
DATE: 8/3/2006 TYPE: Taxi/Car Service; REASON: Client Billable-CHI-
Bkcy-Shareholder; DATE: 07/24/06 - Cab from Las Vegas airport to hotel

VENDOR: Amm's Limousine Service, Inc.; INVOICE#: 882769; DATE:
7/24/2006 - Order# 8470884, From Chicago to ORD on 7/24/06
VENDOR: American Express INVOICE#: AETL200608 DATE:
8/11/2006 17772282368 Air/Rail Travel Peterman/Nancy A Ord-Las-
07/24/06

VENDOR: American Express INVOICE#: AETL200608 DATE:
8/11/2006 8908130445172 Air/Rail Travel Peterman/Nancy A Travel
Agency Service Fee 07/24/06

VENDOR: Peterman, Nancy A. INVOICE#: C051000011372060025
DATE: 8/3/2006 TYPE: Hotel - Meals; REASON: Client Billable-CHI-
Bkcy-Shareholder; DATE: 07/25/06 - Meal

VENDOR: Peterman, Nancy A. INVOICE#: C051000011372060025
DATE: 8/3/2006 TYPE: Hotel - Meals; REASON: Client Billable-CHI-
Bkcy-Shareholder,; DATE: 07/25/06 - Meal

VENDOR: Peterman, Nancy A. INVOICE#: C05100001 1372060025
DATE: 8/3/2006 TYPE: Taxi/Car Service; REASON: Client Billable-CHI-
Bkcy-Shareholder; DATE: 07/25/06 - Cab from hotel to Las Vegas airport
VENDOR: Peterman, Nancy A. INVOICE#: C051000011372060025
DATE: 8/3/2006 TYPE: Hotel - Non Meals; REASON: Client Billable-
CHI-Bkcy-Shareholder, DATE: 07/25/06 - Hotel charge

VENDOR: Amm's Limousine Service, Inc.; INVOICE#: 1057845; DATE:
8/18/2006 - Order #8546521; Charge #2089; Pick up at 8:20pm on
8/18/06

Total Expenses:

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Page 4
AMOUNT

$ 15.00
$ 150.00
$ 577.44
$ 27.00
$ 6.32
$ 7.67
$ 15.00
$ 151.51
$ 74.95
$ 1,024.89
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Invoice No.: 1868695 Page |
Matter No.: 083230.012700

Description of Professional Services Rendered:

ACTION CODE: 806 EMPLOYEE BENEFITS/PENSIONS
DATE TIMEKEEPER DESCRIPTION HOURS AMOUNT
09/01/06 Nancy A. Peterman Review and comment on pension motion 0.40 218.00

(.3); exchange emails with Debtors’ counsel

re same (.1).

Total Hours: 0.40
Total Amount: $ 218.00
TIMEKEEPER SUMMARY FOR ACTION CODE 806,
EMPLOYEE BENEFITS/PENSIONS

Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 0.40 $45.00 218.00

Totals: 0.40 545.00 $ 218.00
Case 06-10725-gwz

Invoice No.:
Matter No.:

1868695
083230.012700

Description of Professional Services Rendered

ACTION CODE: 813

DATE

TIMEKEEPER

09/13/06

09/19/06

09/19/06

09/20/06

09/21/06

09/21/06

09/22/06

09/22/06

09/25/06

09/25/06

09/25/06

Nancy A. Peterman

Kerry E. Carlson

Nancy A. Peterman

Nancy A. Peterman

Nancy A. Peterman

Collin B. Williams
Nancy A. Peterman
Collin B. Williams

Kerry E. Carlson

Nancy A. Peterman

Yolanda Powell

FEE/EMPLOYMENT APPLICATIONS

DESCRIPTION

Telephone conferences (2) with S. Darr re
fee application issues (.6); telephone
conference with S. Darr and J. Atkinson re
same (.5).

Retrieve fee application (.4); research and
review objections filed to the same (.3);
forward materials to N. Peterman (.1).
Review objection to MFIM's fees (.1);
prepare email to client re same (.3); review
supplemental affidavit (.4); review loan
documents re chargeable fees (.2); several
telephone conferences with S. Darr re same
(5).

Participate in call with S. Darr re objections
to fee application and response to same
(.5); telephone conference with C. Williams
re same (.2).

Several telephone conferences with J.
Atkinson and S. Darr re fee objections (.6);
review conflicts letter drafted by A. Jarvis
(.3); review order re loans and payment of
fees (.3); participate in conference call with
MFIM and Debtors' counsel re fee issues
and case status (.8).

Draft Omnibus Response to Objections to
Mesirow’s First Interim Fee Application
Telephone conferences with S. Darr re fee
application issues.

Work on Response to Objections to Fee
Applications

Review response to fee objections (.4);
review administrative order establishing fee
procedures (.2); format response; research
and prepare service list (.8); prepare
certificate of service and assist with filing
(1.8).

Telephone conference with S. Darr re fee
issues (.6); conference with C. Williams re
same (.3); revise fee objection (3.0);
several telephone conferences with J.
Atkinson re same (1.0); several telephone
conference with Debtors’ counsel re same
(1.0).

Reviewed court docket and obtained copies
of Mesirow's Retention Application,
supplementals, objections and orders (.5);

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Page 2
HOURS AMOUNT
1.10 599.50
0.80 152.00
1.50 817.50
0.70 381.50
2.00 1,090.00
4.00 1,140.00
0.60 327.00
2.50 712.50
3.20 608.00
5.90 3,215.50
1.00 175.00
Case 06-10725-gwz

Invoice No.:
Matter No.:

1868695
083230.012700

Description of Professional Services Rendered

09/25/06

09/25/06

09/26/06

09/26/06

09/26/06

09/26/06

09/27/06

09/27/06

09/27/06

09/27/06

09/28/06

09/29/06

Yolanda Powell

Collin B. Williams

Kerry E. Carlson

Nancy A. Peterman

Yolanda Powell

Collin B. Williams

Franklin C. Austin

Kerry E. Carlson

Nancy A. Peterman

Yolanda Powell

Nancy A. Peterman

Nancy A. Peterman

reviewed court docket and obtained copies
of Mesirow’s Ist Interim Application and
objections (.5).

Reviewed court docket for hearing date on
MFC's retention and fee application.

Work on Omnibus Response to Objections
to Fee Applications (4.0); Westlaw
research regarding standards under 9th
Circuit law for approval of fee applications
(2.3).

Assist with preparation of Motion for
Admission Pro Hac Vice (.8); review local
tules (.2); prepare designation of local
counsel (.1); poll GT office for information
on appearances filed in the district of
Nevada (.1).

Telephone conference with J. Nugent re
supplemental affidavit (.1); review
committee's draft opposition to continued
retention of MFIM (.3); review committee's
omnibus response to fee objections (.1).
Pulled documents and assembled pleadings
binders for the 9/28/06 hearing and
forwarded same to N. Peterman.

Work on preparation of N. Peterman's
materials for fee application hearing (1.1);
Westlaw research regarding conflict of
interest law in multiple debtor cases in 9th
Circuit (2.2); work on pro hac vice motion
for N. Peterman (1.0).

Prepare for hearing in bankruptcy court
(.4); coordinate same with primary counsel
(.1).

Attend to details relating to pro hac
admission of N. Peterman (.3); discuss
interim compensation procedures with N.
Peterman (.2).

Prepare for fee hearing (.8); meet with
client (1.0).

Monitored court docket for additional
documents filed relating to the 9/28 hearing
(.4); obtained and forwarded same to N.
Peterman (.1).

Participate in negotiations with Committees
re MFIM's fees (2.0); several telephone
conferences with S. Darr re fee hearing and
retention issues (2.0).

Revise second supplemental affidavit for
MFIM.

Total Hours:

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Page 3
0.30 52.50
6.30 1,795.50
1.20 228.00
0.50 272.50
2.30 402.50
4.30 1,225.50
0.50 157.50
0.50 95.00
1.80 981.00
0.50 87.50
4.00 2,180.00
0.40 218.00
45.90

Total Amount:

$ 16,914.00
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Invoice No.: 1868695
Matter No.: 083230.012700

Description of Professional Services Rendered

TIMEKEEPER SUMMARY FOR ACTION CODE 813,

FEE/EMPLOYMENT APPLICATIONS

Page 10 of 10

Page 4

Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 18.50 545.00 10,082.50
Franklin C. Austin 0.50 315.00 157.50
Collin B. Williams 17.10 285.00 4,873.50
Kerry E. Carlson 5.70 190.00 1,083.00
Yolanda Powell 4.10 175.00 717.50

Totals: 45.90 368.50 $ 16,914.00
